          Case 3:20-mj-00794-KSC Document 1 Filed 02/21/20 PageID.1 Page 1 of 3


                            UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF CALIFORNIA

      UNITED STATES OF AMERICA,                )
                                               )                              MJ O7 9 4
                                                          Magistrate Case No~ Q
                   Plaintiff,                  )
                                               )          COMPLAINT FOR VIOLATION OF
                    V.                         )          Title 8 U.S.C. Section
                                               )          1324(a)(2)(B)(iii)-
      Jesus Alberto DUENAS (Dl),               )          Bringing in Unlawful Alien( s)
                   and                         )          Without Presentation
      Juan Francisco ESPINOZA (D2),            )
                                               )                             Fl.LED
                   Defendants.                 )
                                                                              FEB t.J 2020

            The undersigned complainant being duly sworn states sou.f~:~t ~,i f~~Jtll2l 8f8rJRNIA
                                                                       BY                    h[ PUTV
             On or about February 20, 2020, within the Southern District of California,
      Defendants, Jesus Alberto DUENAS (Dl) and Juan Francisco ESPINOZA (D2),
      with the int~ t to violate the immigration laws of the United States, knowing and in
      reckless disre~ard of the fact that said aliens, namely, Ofelia GONZALES-Galvez
      and Jose Luis VEGA-Ambrocio, had not received prior official authorization to
      come to, enter and reside in the United States, did bring to the United States said
      aliens, and upon arrival did not bring and present said aliens immediately to an
      appropriate immigration officer at a designated port of entry; in violation of Title 8,
      United States Code, Section 1324(a)(2)(B)(iii).

            And the complainant states that this                            on the attached
      statement of fa\ 1ts,
                        .,,
                            which is incorporated her ·


                                                                      LAINANT
                                               Gabriela Acevedo, CB Enforcement Officer
                                               U.S. Customs and Border Protection

      Sworn to before me and subscribed in my


                                               HONO      E KAREN S. CRAWFORD
                                               UNITED STATES MAGISTRATE JUDGE



v\w
   Case 3:20-mj-00794-KSC Document 1 Filed 02/21/20 PageID.2 Page 2 of 3




                      PROBABLE CAUSE STATEMENT

The complainant states that Ofelia GONZALES Galvez and Jose Luis VEGA
Ambrocio, are citizens of a country other than the United States; that said aliens
have admitted they are deportable; that their testimonies are material; that it is
impracticable to secure their attendance at trial by subpoena; and that they are
material witnesses in relation to this criminal charge and should be held or
admitted to bail pursuant to Title 18, United States Code, Section 3144.

On February 20, 2020 at approximately 10:15 A.M., Jesus Alberto DUENAS (Dl)
and Juan Francisco ESPINOZA (D2), both United States citizens, applied for
admission into the United States from Mexico at the San Ysidro, California Port of
Entry primary vehicle lanes. Dl was the driver of a Ford Explorer bearing State of
California license plates, stated he was going to Chula Vista, California with
nothing to declare. During the course of the primary inspection, the Customs and
Border Protection (CBP) Officer performed an inspection of the vehicle and
discovered a non-factory compartment in the rear spare tire wheel well area with
two unknown individuals concealed within. Assistance was immediately requested
over radio communications with other CBP Officers responding. D 1 and D2 were
immediately secured and escorted to secondary for further investigation while the
vehicle was driven to secondary for further inspection.

In secondary area of operations, responding CBP Officers assisted in removing the
unknown concealed individuals from the compartment. They were later identified
as Ofelia GONZALES Galvez (MWl) and Jose Luis VEGA Ambrocio (MW2),
determined to be citizens of Mexico with no legal documents to enter, pass
through or reside in the United States and are now being held as Material
Witnesses.




Probable Cause Statement continued on page 2 ...
   Case 3:20-mj-00794-KSC Document 1 Filed 02/21/20 PageID.3 Page 3 of 3




Continuation of Probable Cause Statement
RE: U.S. v. Jesus Alberto DUENAS et al

At approximately 1:52 P.M., D2 was advised of his Miranda Rights and elected to
make a statement. D2 stated that D 1 requested to be accompanied at his dental
appointment in Tijuana today. D2 stated Dl had just purchased the vehicle and
acquired it at a parking lot in Tijuana at approximately 8:30 A.M. today. D2 stated
an unknown male surrendered the key to D 1 and both traveled to the dental office.
D2 stated that they traveled straight to the border from the dental office and were
going straight home. D2 denied being aware of both concealed individuals'
presence in the vehicle. After the interview, D2 was escorted back to a temporary
detention cell beside D 1's detention cell. A CBP Criminal Enforcement Unit
Officer overheard D2 stating to D 1: "you are supposed to tell them that it was you
because I have a family and kids."

During a videotaped interview, both Material Witnesses admitted to being citizens
of Mexico with no legal documents to enter into the United States. MW2 admitted
to making the smuggling arrangements for them to be unlawfully transported into
the United States from Mexico. Both Material Witnesses admitted to an agreed
total payment of $3,000 US Dollars each to the human smuggling facilitators in
Tijuana. Both Material Witnesses admitted to a final destination of Los Angeles,
California to unlawfully reside and seek gainful employment.
